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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )          4:17CR3132-2
                                          )
                    Plaintiff,            )
                                          )
      vs.                                 )
                                          )          ORDER
NICOLE RENEE KEMP,                        )
                                          )
                    Defendant.            )

      IT IS ORDERED that:

       (1)    The defendant’s unopposed motion to continue sentencing (filing no. 73)
is granted.

       (2) The defendant’s sentencing is continued to Thursday, January 3, 2019,
at 12:00 p.m., before the undersigned United States district judge, in Courtroom No.
2, Robert V. Denney United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The defendant shall be present unless excused by the
court.

      Dated September 13, 2018.

                                        BY THE COURT:

                                        s/ Richard G. Kopf
                                        Senior United States District Judge
